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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

MONROE COUNTY
EMPLOYEES' RETIREMENT
SYSTEM, Individually and on
Behalf of A l l Others Similarly
Situated

                           Plaintiff,
                                                No. l:17-cv-0024I-MHC
         vs.

THE SOUTHERN COMPANY,
THOMAS A. FANNING, ART P.
BEATTIE, EDWARD D A Y , V I and
G. EDISON HOLLAND, JR.,

                            Defendants.


                  ORDER GRANTING JOINT MOTION TO EXTEND
     I
         DEFENDANTS' DEADLINE FOR RESPONSE TO PLAINTIFF'S

                                        COMPLAINT

         Plaintiff and Defendants have filed a joint motion requesting an order

 extending the deadline for Defendants to answer, move, or otherwise respond to

 Plaintiffs Complaint. For good cause shown and based upon the parties' consent,

 the Court hereby grants the motion. It is hereby ordered that the Joint Motion to

 Extend Defendants' Deadline for Response to Plaintiffs Complaint is GRANTED.

 The Court further orders that following the appointment of Lead Plaintiff(s),

 counsel for Defendants and counsel for the appointed Lead Plaintiff(s) shall confer
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promptly and thereafter jointly propose to the Court a revised schedule for filing a

Consolidated and/or Amended Complaint and Defendants' response thereto.

       SO ORDERED, this P_ day of February, 2017.




                                                 The Honorable Mark H. Cohen
                                                 United States District Judge




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